      Case 4:10-cv-02386 Document 231 Filed in TXSD on 07/26/18 Page 1 of 5



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                               )
EXXON MOBIL CORPORATION,                       )
                                               )
                         Plaintiff,            )
                                               )
                    v.                         )       Civil Action Nos. H-10-2386 (LHR)
                                               )                         H-11-1814 (LHR)
UNITED STATES OF AMERICA,                      )
                                               )
                         Defendant.            )
                                               )


    PLAINTIFF EXXON MOBIL CORPORATION’S NOTICE OF SUPPLEMENTAL
                            AUTHORITY

         Plaintiff Exxon Mobil Corporation (“Exxon”) submits this Notice of Supplemental

Authority regarding Shell Oil Co. v. United States, No. 17-1695 (Fed Cir.) (opinion filed July 18,

2018) (“Shell”) (attached as Exhibit A). In the Shell litigation, the plaintiff oil companies asserted

claims against the United States (“Government”) for reimbursement of their cleanup costs pursuant

to World War II contracts for the production of 100-octane aviation gasoline or “avgas” (the

“Avgas Contracts”). Shell at 6. These Avgas Contracts and their relevant cost reimbursement

provisions (by which the Government agreed to pay for all costs incurred “by reason of” avgas

production) are pertinently-identical to the Avgas Contracts at issue in the above-captioned actions

that Exxon brought under the Comprehensive Environmental Response, Compensation, and

Liability Act (“CERCLA”), 42 U.S.C. § 9607(a) (the “CERCLA Actions”), as well as Exxon’s

companion contract actions pending before the U.S. Court of Federal Claims. See Exxon Mobil

Corp. v. United States, Nos. 09-165, 09-882 (Fed. Cl.) (the “Contract Actions”).

         On July 18, the U.S. Court of Appeals for the Federal Circuit affirmed the Court of Federal




Active 38351703.2                                  1
      Case 4:10-cv-02386 Document 231 Filed in TXSD on 07/26/18 Page 2 of 5



Claims’ decision in Shell Oil Co. v. United States, 130 Fed. Cl. 8, 42 (2017) that the United States

was responsible for 100% of the oil companies’ claimed cleanup costs at the McColl Superfund

Site (“McColl Site”) under the cost reimbursement provisions in the relevant Avgas Contracts.

Shell at 28. The Avgas Contracts at issue in Shell as well as in Exxon’s CERCLA and Contract

Actions required the Government to pay for any new or additional “charges” incurred “by reason

of the production manufacture, sale[,] or delivery” of avgas under the contract. Id. at 11.

         In a unanimous ruling, the Federal Circuit specifically rejected the Government’s argument

that some of the acid waste resulted from the production of non-avgas products, such as motor fuel

and other products, and therefore, not all of the acid waste at the McColl Site was generated “by

reason of” avgas production. Shell at 14. In rejecting the Government’s argument, the Federal

Circuit agreed with the Court of Federal Claims’ rationale, stating that “[a]ll acid sludge created

from the production of non-avgas components, such as motor fuel, began as sulfuric acid that was

catalyzed with crude oil during the process to create avgas and became spent alkylation acid in

need of waste disposal. . . . Thus, even if the acid sludge was a secondary waste product, it is still

directly related to the initial reaction used to create avgas[.]” Id. The Federal Circuit further

emphasized that the Avgas Contracts “explicitly acknowledged that avgas production would

necessarily result in the production of acid sludge produced from the treatment of non-avgas

products,” id. at 15, because the contracts stated that “substantial quantities of motor fuel and other

products must necessarily be produced and sold in connection with production of” avgas.” Id.1

The Federal Circuit therefore ruled that it was appropriate for the Government to bear 100% of the

oil companies’ claimed cleanup costs to address the acid waste at the McColl Site. Id. at 2-3.




1
 An identical acknowledgement appears in the Avgas Contracts at issue in the Exxon Contract
and CERCLA Actions. A000482; A000507.


Active 38351703.2                                 2
      Case 4:10-cv-02386 Document 231 Filed in TXSD on 07/26/18 Page 3 of 5




Dated: July 26, 2018                 Respectfully submitted,


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Active 38351703.2                       3
      Case 4:10-cv-02386 Document 231 Filed in TXSD on 07/26/18 Page 4 of 5



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of July 2018 I served the foregoing on the following

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Active 38351703.2                                 4
      Case 4:10-cv-02386 Document 231 Filed in TXSD on 07/26/18 Page 5 of 5




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Active 38351703.2                       5
